                                  IN THE
                          TENTH COURT OF APPEALS

                                 No. 10-23-00148-CR
                                 No. 10-23-00149-CR

                      EX PARTE ANIRUDDHA CHITALE



                          From the 40th District Court
                              Ellis County, Texas
                  Trial Court Nos. 29142CR-A and 29097CR-A


                          MEMORANDUM OPINION


      In 2005, Aniruddha Chitale pleaded guilty in both trial court cause numbers

29142CR and 29097CR to the second-degree felony offense of sexual assault. See TEX.

PENAL CODE ANN. § 22.011. Pursuant to a plea agreement, Chitale waived his right to

trial by jury, and the State recommended the trial court defer a finding of guilt and place

Chitale on community supervision for ten years.          Chitale completed his term of

community supervision and was discharged in 2015, and his cases were dismissed.

      In 2023, Chitale filed an application for writ of habeas corpus pursuant to article

11.072 of the Code of Criminal Procedure in each cause, in which he challenged the

voluntariness of his pleas of guilty and asserted that he was denied effective assistance
of counsel. Chitale’s ineffective-assistance-of-counsel claim was based on his allegation

that his trial counsel failed to advise him that a plea of guilty would require him to

register as a sex offender for the remainder of his life. Chitale also argued that his trial

counsel’s failure to properly advise him of the consequences of his pleas rendered his

pleas involuntary. The trial court denied both of Chitale’s applications without a hearing

and entered orders that contained findings of fact and conclusions of law. These appeals

ensued.

                                   Issues One and Two

        In his first two issues, Chitale contends the trial court abused its discretion in

denying habeas relief because (1) his pleas were involuntary and (2) he was deprived of

effective assistance of counsel.

AUTHORITY

        We review the trial court’s denial of habeas relief for an abuse of discretion. Ex

parte Mello, 355 S.W.3d 827, 832 (Tex. App.—Fort Worth 2011, pet. ref’d). We review the

evidence in the light most favorable to the habeas court’s ruling. Id. A court abuses its

discretion if its decision lies outside the zone of reasonable disagreement. Ex parte Wolf,

296 S.W.3d 160, 166 (Tex. App.—Houston [14th Dist.] 2009, pet. ref’d).

        In article 11.072 habeas proceedings, the trial court is the sole finder of fact. Ex

parte Sanchez, 625 S.W.3d 139, 144 (Tex. Crim. App. 2021). We afford almost total

deference to a trial court’s factual findings when they are supported by the record,

especially when those findings are based upon credibility and demeanor. Ex parte Torres,

483 S.W.3d 35, 42 (Tex. Crim. App. 2016). This deferential review does not change even

Ex parte Chitale                                                                      Page 2
when the habeas judge was not the trial judge because the habeas judge is a trial-level

finder of fact to whom deference on certain issues is required. Sanchez, 625 S.W.3d at 144.

“Findings of historical fact made at the trial level are still given deference on appeal even

when the findings are based solely on affidavits.” Id.

        Some issues in an article 11.072 habeas proceeding are subject to de novo review.

Id. We review de novo pure questions of law and application-of-law-to-fact questions that

do not turn on credibility and demeanor. Ex parte Beck, 541 S.W.3d 846, 852 (Tex. Crim.

App. 2017).

        Article 11.072 is the exclusive means by which district courts may exercise original

habeas jurisdiction in cases involving an individual who is serving a term of community

supervision. Torres, 483 S.W.3d at 42. An applicant for a writ of habeas corpus bears the

burden of proving his claim by a preponderance of the evidence. Id. There is also a

presumption of the regularity of the trial court’s judgment and underlying proceedings,

absent a showing to the contrary. Ex parte Wilson, 716 S.W.2d 953, 956 (Tex. Crim. App.

1986); Brown v. State, 917 S.W.2d 387, 390 (Tex. App.—Fort Worth 1996, pet. ref’d) (per

curiam). Applicants that seek relief based on ineffective assistance of counsel must

demonstrate that (1) counsel’s performance was deficient, in that it fell below an objective

standard of reasonableness, and (2) the applicant was prejudiced as a result of counsel’s

errors, in that, but for those errors, there is a reasonable probability of a different outcome.

Torres, 483 S.W.3d at 43 (citing Strickland v. Washington, 466 U.S. 668, 687, 693, 104 S.Ct.

2052, 2064, 2067–68, 80 L.Ed.2d 674 (1984)). If the applicant fails to make a showing under



Ex parte Chitale                                                                         Page 3
either prong, his claim for ineffective assistance must be denied. Rylander v. State, 101

S.W.3d 107, 110 (Tex. Crim. App. 2003).

        In the context of a collateral challenge to a guilty plea, the focus of the
        prejudice inquiry is on “whether counsel’s constitutionally ineffective
        performance affected the outcome of the plea process,” and on whether a
        defendant has shown that “but for counsel’s errors, he would not have
        pleaded guilty and would have insisted on going to trial.”

Torres, 483 S.W.3d at 43 (quoting Hill v. Lockhart, 474 U.S. 52, 59, 106 S.Ct. 366, 370, 88

L.Ed.2d 203 (1985)). A guilty plea is not knowing or voluntary if it was made because of

ineffective assistance of counsel. Ex parte Moussazadeh, 361 S.W.3d 684, 688–89 (Tex. Crim.

App. 2012). Therefore, when based upon erroneous advice of counsel, a defendant’s

decision to plead guilty is not done knowingly and voluntarily. See id. at 689.

DISCUSSION

        In each of his trial court applications for habeas corpus relief, Chitale asserted that

his “trial counsel erroneously advised [him] that he would only need to register as a sex

offender for the ten-year period of deferred adjudication by pleading guilty,” which

resulted in an involuntary plea of guilty “because he did not understand the

consequences of his plea as a result of the erroneous information provided to him from

trial counsel.” In support of his assertion, Chitale attached affidavits from himself, his

wife, and his two trial attorneys, Tom Mills and Jim Jenkins. The affidavits from Chitale

and his wife each included their recollections that Chitale was advised by trial counsel

before his pleas of guilty that he would have to register as a sex offender for only ten

years and that the requirement would end when his probation ended. The affidavit from

trial counsel Tom Mills indicated he was “not asked and did not advise Mr. Chitale on

Ex parte Chitale                                                                         Page 4
sex offender registration.” Mills added that he believed Chitale’s other trial counsel

handled the issue of sex offender registration. The affidavit from trial counsel Jim Jenkins

indicated that he recalled Chitale and the basic facts of his cases but that he did not recall

some of the particulars of his representation of Chitale. Jenkins also stated in his affidavit,

“I believe that I may have advised the Defendant, Dr. Chitale, that he would be required

to register as a sex offender for ten years as a consequence of acceptance of the plea

agreement; I do not remember.”

        The State filed a timely response and argued that Chitale had not shown “by a

preponderance [either] that counsel’s advice was outside the range of competence” or

“that the result of the proceeding would have been different but for the incorrect advice.”

The State questioned the credibility of Chitale’s and his wife’s affidavits and questioned

their motivations. The State also argued that Chitale received admonishments that put

him on notice of lifetime registration.

        The trial court, by written orders, denied Chitale’s requested relief and made the

following findings applicable to our review on Chitale’s applications:

        Competence of counsel’s advice

        8.) The affidavits of Applicant and his wife are not credible:

                   a) Applicant and his wife both submitted affidavits that they
                      specifically recall lead counsel James Jenkins informing
                      Applicant before the plea hearing that he would only have to
                      register as a sex offender for ten years. Applicant’s Exhibits A &amp;
                      B;

                   b) These affidavits focus on the difficulties Applicant and his wife
                      have suffered since Applicant’s plea and give them motive to
                      misrepresent or misremember details of the plea process;

Ex parte Chitale                                                                           Page 5
                   c) Applicant admits he was aware of the requirement for lifetime
                      registration no later than when he was released from jail in late
                      2005;

                   d) Applicant’s failure to show any contemporaneous claims that he
                      had been misadvised contributes to the lack of credibility in his
                      claims;

        9.) The affidavits of trial counsel do not support Applicant’s claim:

                   a)   Jenkins submitted an affidavit that he does not recall what
                        advice he gave Applicant regarding registration and he “may”
                        have advised him incorrectly. Applicant’s Exhibit C;

                   b) Co-counsel Tom Mills submitted an affidavit that he did not
                      advise Applicant regarding sex offender registration and
                      Jenkins was responsible for advising him. Applicant’s Exhibit
                      D;

                   c)   Jenkins’s vague acknowledgment that he “may” have
                        misadvised Applicant but did not recall does not support
                        Applicant’s claims;

                   d) Applicant’s 17-year delay in raising any complaint about
                      counsel’s advice contributed to Jenkins’s inability to recall
                      specifics and cannot be used to support his claim;

        10.) Applicant was correctly advised regarding lifetime sex offender
            registration:

                   a)   During the plea proceedings, Applicant signed Supplemental
                        Admonishments to the Defendant for Sex Offender Registration.
                        State’s Exhibit 2;

                   b) This admonishment specifically informed Applicant that, for the
                      offense of sexual assault, he would be required to register “for
                      the remainder of the Defendant’s life;”

                   c)   Applicant did not explain or even acknowledge this document
                        in his affidavit or the Application;



Ex parte Chitale                                                                          Page 6
                   d) It is not reasonable that Applicant, a highly educated individual,
                      would have signed these admonishments without reading them;

                   e)   Applicant affirmatively stated in the plea hearing that he
                        understood the documents he signed and understood the
                        agreements contained within them. Applicant’s Exhibit E;

        11.) The credible evidence shows that Applicant was properly advised that
             he would be required to register as a sex offender for life;

        ....

        Conclusion

        15.) Applicant did not receive ineffective assistance of counsel;

        16.) Applicant’s plea was not involuntary; and

        17.) Applicant is not entitled to relief.

        Chitale contends the trial court erred when it found (1) “that [he] was not

erroneously advised by trial counsel concerning the consequences of his plea,” and (2)

“that [his] plea would not have been different but for the misadvice [sic] concerning the

consequences of his plea.”

        The trial court was free to believe or disbelieve the affidavits submitted by the

Chitales, and the trial court found the affidavits were not credible. See Sanchez, 625

S.W.3d at 144. Chitale’s affidavit testimony was contradicted by his testimony at his plea

hearing that reflects that Chitale understood the documents he signed. The record in each

cause includes a “Supplemental Admonishments to the Defendant for Sex Offender

Registration” signed by Chitale that includes an admonishment that the offense of sexual

assault requires lifetime registration as a sex offender. Jim Jenkins’s affidavit was the

only other affidavit that addressed the issue of sex offender registration; however, it

Ex parte Chitale                                                                           Page 7
offered nothing more than speculation about his advice because his affidavit was

conditioned with the statement, “I do not remember.” Without credible evidence, Chitale

could not prove by a preponderance of the evidence that his trial counsel was deficient.

See Torres, 483 S.W.3d at 43. After our review of the evidence in the light most favorable

to the habeas court’s rulings, we conclude that Chitale failed to show his trial counsel’s

performance was deficient; therefore, we need not address prejudice. See Garcia v. State,

57 S.W.3d 436, 440 (Tex. Crim. App. 2001). Because Chitale failed to show his trial

counsel’s performance was deficient, we further conclude that Chitale’s pleas were not

involuntary. We overrule Chitale’s first and second issues.

                                         Issue Three

        In his third issue, Chitale contends the trial court erred in not conducting a hearing

on his applications.

AUTHORITY

        “We review a trial court’s decision to grant or deny an evidentiary hearing on an

article 11.072 habeas-corpus application under an abuse-of-discretion standard.” Ex parte

Godinez, No. 10-13-00063-CR, 2014 WL 98816, at *1 (Tex. App.—Waco Jan. 9, 2014, pet.

ref’d) (mem. op., not designated for publication) (citing Ex parte Gonzalez, 323 S.W.3d 557,

558 (Tex. App.—Waco 2010, pet. ref’d), and Ex parte Cummins, 169 S.W.3d 752, 757 (Tex.

App.—Fort Worth 2005, no pet.)). A court abuses its discretion if its decision lies outside

the zone of reasonable disagreement. Wolf, 296 S.W.3d at 166.

        In an article 11.072 habeas proceeding, a trial court may order affidavits,

depositions, interrogatories, or a hearing. See TEX. CODE CRIM. PROC. ANN. art. 11.072, §

Ex parte Chitale                                                                        Page 8
6(b). Nothing in article 11.072 requires the trial court to conduct a hearing. See Cummins,

169 S.W.3d at 757; see also Ex parte Dixon, No. 11-20-00161-CR, 2022 WL 1498140, at *5

(Tex. App.—Eastland May 12, 2022, pet. ref’d) (mem. op., not designated for publication).

A trial judge is only required to hold a hearing when newly discovered evidence, if

believed, establishes a defendant’s innocence. Ex parte Franklin, 310 S.W.3d 918, 922 (Tex.

App.—Beaumont 2010, no pet.).

DISCUSSION

        Chitale contends he was entitled to present explanations or to respond to the

State’s arguments concerning delays or witness credibility raised by the State in its

response to Chitale’s applications. Chitale argues that several of the trial court’s findings

“contained explicit and implicit credibility determinations that were unfounded and not

supported by the evidence and record.”

        The trial court found that Chitale’s and his wife’s affidavits were not credible

based on the recited difficulties they suffered complying with registration requirements

that gave them a motivation to misrepresent/misremember details of the plea process.

The trial court also found that Chitale’s awareness of lifetime registration requirements

when he was released from jail in 2005 and his failure to show contemporaneous claims

that he had been misadvised all went to credibility. Additionally, the trial court found

Chitale’s trial counsel’s affidavit that was based upon trial counsel vaguely

acknowledging that he “may” have misadvised Chitale while clearly acknowledging that

he did not remember did not support Chitale’s claim. The trial court also found that

Chitale’s seventeen-year delay in raising his complaints contributed to trial counsel’s

Ex parte Chitale                                                                       Page 9
inability to recall specifics and therefore could not be used to support Chitale’s

applications.

        Chitale relies on Ex parte Smith, 444 S.W.3d 661 (Tex. Crim. App. 2014), to support

his argument that he was entitled to a hearing on the issue of delay in bringing these

habeas proceedings. Smith provides that an applicant must be afforded a hearing before

a court recommends or concludes that laches compels the application’s denial. Id. at 670.

But Chitale’s reliance on Smith is misplaced because Chitale’s applications were not

denied on the grounds of laches.

        Because grounds other than the seventeen-year delay support the trial court’s

findings questioning credibility, we conclude the trial court did not abuse its discretion

in denying Chitale a hearing on his applications. We overrule Chitale’s third issue.

        We affirm the orders of the trial court.




                                                   MATT JOHNSON
                                                   Justice

Before Chief Justice Gray,
       Justice Johnson, and
       Justice Smith
Affirmed
Opinion delivered and filed August 22, 2024
Do not publish
[CR25]




Ex parte Chitale                                                                    Page 10
